              Case 24-10703-amc                   Doc 1    Filed 03/01/24 Entered 03/01/24 11:47:29                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                     Chapter       7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pretzel Perfection, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Perfection Snacks
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  100 Corporate Drive
                                  Suite 2                                                       253 Municipal Rd.
                                  Montgomeryville, PA 18936                                     Erwinna, PA 18920
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.shop.perfectionsnacks.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Pretzel Perfection, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3119

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
                                        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                When                                Case number
                                                 District                                When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    Pretzel Perfection, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                           5001-10,000                                50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Pretzel Perfection, LLC                                                      Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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                       302-425-5806

            PA 80783
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 Fill in this information to identify the case:

 Debtor name            Pretzel Perfection, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $          37,462.90

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $          37,462.90


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         837,940.05


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $         676,107.01

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       9,614,224.04


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        11,128,271.10




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name          Pretzel Perfection, LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     First Commonwealth                                Non-Personal Checking                 7535                                   $7,934.35




           3.2.     Banner Bank                                       Non-Personal Checking                 1019                                           $0.00




           3.3.     Penn Community                                    Non-Personal Checking                 5205                                         $84.76



4.         Other cash equivalents (Identify all)


           4.1.     Shopify                                                                                                                       $23,047.74




           4.2.     PayPal                                                                                                                         $6,396.05




5.         Total of Part 1.                                                                                                                    $37,462.90
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                      page 1
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Debtor         Pretzel Perfection, LLC                                                     Case number (If known)
               Name

6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits

           Description, including name of holder of deposit
           7.1.



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

           Description, including name of holder of prepayment
           8.1.




9.         Total of Part 2.
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable


           11a. 90 days old or less:                                    -                                          = ....
                                        face amount                          doubtful or uncollectible accounts




           11b. Over 90 days old:                                       -                                         =....
                                        face amount                          doubtful or uncollectible accounts




12.        Total of Part 3.
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:        Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
                                                                                                    Valuation method used   Current value of
                                                                                                    for current value       debtor's interest


14.        Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:


           14.1.



15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                      page 2
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Debtor       Pretzel Perfection, LLC                                                 Case number (If known)
             Name

          partnership, or joint venture

          Name of entity:                                                  % of ownership


          15.1.                                                                         %



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

          Describe:


          16.1.




17.       Total of Part 4.
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last       Net book value of         Valuation method used    Current value of
                                             physical inventory     debtor's interest         for current value        debtor's interest
                                                                    (Where available)

19.       Raw materials
          Seasongings                                                          Unknown                                            Unknown



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Packaging, cardboard                                                 Unknown                                            Unknown



23.       Total of Part 5.                                                                                                          $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                        0.00 Valuation method      discount retailer Current Value                   0.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 3
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Debtor       Pretzel Perfection, LLC                                                    Case number (If known)
             Name


    Yes Fill in the information below.
          General description                                           Net book value of      Valuation method used   Current value of
                                                                        debtor's interest      for current value       debtor's interest
                                                                        (Where available)

28.       Crops-either planted or harvested




29.       Farm animals Examples: Livestock, poultry, farm-raised fish




30.       Farm machinery and equipment (Other than titled motor vehicles)




31.       Farm and fishing supplies, chemicals, and feed




32.       Other farming and fishing-related property not already listed in Part 6




33.       Total of Part 6.
          Add lines 28 through 32. Copy the total to line 85.

34.       Is the debtor a member of an agricultural cooperative?
           No
           Yes. Is any of the debtor's property stored at the cooperative?
                     No
                     Yes
35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                              Valuation method                           Current Value

36.       Is a depreciation schedule available for any of the property listed in Part 6?
           No
           Yes
37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
           No
           Yes
Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                           Net book value of      Valuation method used   Current value of
                                                                        debtor's interest      for current value       debtor's interest
                                                                        (Where available)
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 4
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Debtor        Pretzel Perfection, LLC                                                       Case number (If known)
              Name



39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Copier                                                                     Unknown                                           Unknown



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


          47.1.



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

          48.1.



49.       Aircraft and accessories


          49.1..



50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor        Pretzel Perfection, LLC                                                     Case number (If known)
              Name



51.        Total of Part 8.
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.

           55.1.




56.        Total of Part 9.
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           perfectionsnacks.com                                                    Unknown                                                Unknown



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 6
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Debtor        Pretzel Perfection, LLC                                                      Case number (If known)
              Name

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                  $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


71.        Notes receivable
           Description (include name of obligor)

                                                                                     -                                      =
                                                                 Total face amount       doubtful or uncollectible amount



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)


                                                                                             Tax year



73.        Interests in insurance policies or annuities




74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)



           Nature of claim
           Amount requested

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 7
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Debtor      Pretzel Perfection, LLC                                                 Case number (If known)
            Name




75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim
         Amount requested



76.      Trusts, equitable or future interests in property




77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership




78.      Total of Part 11.
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                      page 8
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Debtor          Pretzel Perfection, LLC                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $37,462.90

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $37,462.90          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $37,462.90




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 9
            Case 24-10703-amc                        Doc 1       Filed 03/01/24 Entered 03/01/24 11:47:29                                  Desc Main
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Fill in this information to identify the case:

Debtor name          Pretzel Perfection, LLC

United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Fox Capital Group                            Describe debtor's property that is subject to a lien                    $1,200.00               Unknown
       Creditor's Name                              All assets
       65 Broadway
       Suite 804
       New York, NY 10006
       Creditor's mailing address                   Describe the lien
                                                    UCC statement
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       9-10-21                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Itria Ventures                               Describe debtor's property that is subject to a lien                    Unknown                 Unknown
       Creditor's Name                              All present and future accounts, intangibles,
       1 Penn Plaza                                 assets
       Suite 4530
       New York, NY 10019
       Creditor's mailing address                   Describe the lien
                                                    UCC statement
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       7-19-21                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 4
           Case 24-10703-amc                      Doc 1        Filed 03/01/24 Entered 03/01/24 11:47:29                              Desc Main
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Debtor      Pretzel Perfection, LLC                                                               Case number (if known)
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.3   Itria Ventures                              Describe debtor's property that is subject to a lien                     Unknown        Unknown
      Creditor's Name                             All present and future accounts, intangibles,
      1 Penn Plaza                                assets
      Suite 4530
      New York, NY 10019
      Creditor's mailing address                  Describe the lien
                                                  UCC statement
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.4   Merchant Captial                            Describe debtor's property that is subject to a lien                     Unknown        Unknown
      Creditor's Name                             All receivables, inangibles, contract rights
      1274 49th St.
      Suite 197
      Brooklyn, NY 11219
      Creditor's mailing address                  Describe the lien
                                                  UCC statement
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.5   Swift Financial (PayPal)                    Describe debtor's property that is subject to a lien                     Unknown        Unknown
      Creditor's Name                             All present and future accounts, intangibles,
      Attn: Banktrupcty                           assets
      3505 Silverside Rd.
      Wilmington, DE 19810
      Creditor's mailing address                  Describe the lien
                                                  UCC statement
                                                  Is the creditor an insider or related party?
                                                   No
Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 4
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Debtor       Pretzel Perfection, LLC                                                               Case number (if known)
             Name

       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       4/2021                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



       US Eagle Federal Credit
2.6                                                                                                                         $836,740.05              Unknown
       Union                                       Describe debtor's property that is subject to a lien
       Creditor's Name                             All assets
       3939 Osuna NE
       Albuquerque, NM 87109
       Creditor's mailing address                  Describe the lien
                                                   UCC statement
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       12/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8209
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $837,940.05

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Elizabeth Barca
        181 E. Evans St.                                                                                    Line   2.6
        Suite 313, BTC 119
        Florence, SC 29506

        Jellum Law
        Attn: Garth Gavenda                                                                                 Line   2.6
        7616 Currell Blvd.
        Ste. 245
        Saint Paul, MN 55125

        SBA
        6501 Sylan Rd                                                                                       Line   2.6                                8209
        Suite 100
        Citrus Heights, CA 95610-5017

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4
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Debtor    Pretzel Perfection, LLC                                           Case number (if known)
          Name




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property           page 4 of 4
            Case 24-10703-amc                       Doc 1       Filed 03/01/24 Entered 03/01/24 11:47:29                                          Desc Main
                                                               Document      Page 23 of 63
Fill in this information to identify the case:

Debtor name        Pretzel Perfection, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim          Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                           $671,737.20          $0.00
          Amy Holyk                                            Check all that apply.
          253 Municipal Rd                                      Contingent
          Erwinna, PA 18920                                     Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               payroll and reimbursement
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes

2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $4,369.81         $4,369.81
          Internal Revenue Service                             Check all that apply.
          Dept. of Treasury                                     Contingent
          Cincinnati, OH 45999-0030                             Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Payroll taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 15
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Debtor      Pretzel Perfection, LLC                                                         Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,000.00
         56 Red
         c/o Robert MacArthur                                       Contingent
         7425 SW Aloma Way                                          Unliquidated
         #3                                                         Disputed
         Portland, OR 97223
                                                                   Basis for the claim: marketing consulting
         Date(s) debt was incurred 10/17/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,308.25
         Amazon Capital Services Inc                                Contingent
         410 Terry Ave North                                        Unliquidated
         Seattle, WA 98109-5210                                     Disputed
         Date(s) debt was incurred 6-7-23
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,537.85
         American Express                                           Contingent
         P.O. Box 1270                                              Unliquidated
         Newark, NJ 07101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $22,139.15
         American Express                                           Contingent
         P.O. Box 1270                                              Unliquidated
         Newark, NJ 07101                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4009
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Anne and Bob Scarazzo                                      Contingent
         21 Steeplechase Dr.                                        Unliquidated
         Doylestown, PA 18901                                       Disputed
         Date(s) debt was incurred 1/10/2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Anne Marie Soloman                                         Contingent
         1012 Country Way                                           Unliquidated
         Chester Springs, PA 19425                                  Disputed
         Date(s) debt was incurred 1/3/2020
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,000.00
         Anne Scarazzo                                              Contingent
         21 Steeplechase Dr.                                        Unliquidated
         Doylestown, PA 18901                                       Disputed
         Date(s) debt was incurred 10/2023
                                                                   Basis for the claim: consulting
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Pretzel Perfection, LLC                                                         Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,193.52
         Bickel Snack Foods                                         Contingent
         1120 Zinn's Quarry Rd.                                     Unliquidated
         York, PA 17404                                             Disputed
         Date(s) debt was incurred 8/2023
                                                                   Basis for the claim: manufacturer
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $137,000.00
         Bob and Kathy Mandt                                        Contingent
         12423 NE 49th St.                                          Unliquidated
         Vancouver, WA 98682                                        Disputed
         Date(s) debt was incurred 10/8/2019
                                                                   Basis for the claim: perosnal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $125,000.00
         Branden J. Stansberry                                      Contingent
         502 W. Wilson Ct.                                          Unliquidated
         Spokane, WA 99208                                          Disputed
         Date(s) debt was incurred 1/6/2020
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,733.58
         Bunzi                                                      Contingent
         10814 Northeast Ave.                                       Unliquidated
         Philadelphia, PA 19116                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $110,000.00
         Charles Grayson                                            Contingent
         175 Grandchester Way                                       Unliquidated
         Fayetteville, GA 30215                                     Disputed
         Date(s) debt was incurred 3/23/2020
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,485.92
         Chesapeake Spice Co.                                       Contingent
         PO Box 6129                                                Unliquidated
         Hermitage, PA 16148                                        Disputed
         Date(s) debt was incurred 12/21/2023
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,000.00
         Connor Holyk                                               Contingent
         253 Municpal Rd.                                           Unliquidated
         Erwinna, PA 18920                                          Disputed
         Date(s) debt was incurred 10/19/2021
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $285,000.00
         Daniel Schnell                                             Contingent
         15920 Pilot Drive
         Sisters, OR 97759
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number 5820                      Basis for the claim: Contract

                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,250.00
         Darren Smith                                               Contingent
         838 S. Gretha Greenway                                     Unliquidated
         Los Angeles, CA 90049                                      Disputed
         Date(s) debt was incurred 3/8/2017
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         David Uhle III                                             Contingent
         1452 Turkey Trot Rd.                                       Unliquidated
         Warminster, PA 18974                                       Disputed
         Date(s) debt was incurred 4/26/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $26,729.12
         Davis Wright Tremaine LLP                                  Contingent
         1300 SW Fifth Ave.                                         Unliquidated
         Suite 2400                                                 Disputed
         Portland, OR 97201
                                                                   Basis for the claim: legal services
         Date(s) debt was incurred 2019
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $65,000.00
         Deanna Farley                                              Contingent
         250 N. 175 E.                                              Unliquidated
         #333                                                       Disputed
         New Harmony, UT 84757
                                                                   Basis for the claim: personal note
         Date(s) debt was incurred 3/13/2020
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $932,865.18
         Debora Odom                                                Contingent
         253 Municipal Rd.                                          Unliquidated
         Erwinna, PA 18920                                          Disputed
         Date(s) debt was incurred 2016
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,000.00
         Diane and Charles Wells                                    Contingent
         2215 Rip Curl Run                                          Unliquidated
         #261                                                       Disputed
         Palmetto, FL 34221
                                                                   Basis for the claim: personal note
         Date(s) debt was incurred 2/20/2020
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Diane and Dean Logan                                       Contingent
         184 Hampshire Dr.                                          Unliquidated
         Sellersville, PA 18960                                     Disputed
         Date(s) debt was incurred 4/26/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $475,000.00
         Doug and Kassi Clark                                       Contingent
         3304 217th Pl. NE                                          Unliquidated
         Sammamish, WA 98074                                        Disputed
         Date(s) debt was incurred 10/31/2018
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,014.97
         EAN Services LLC                                           Contingent
         PO Box 840173                                              Unliquidated
         Kansas City, MO 64184                                      Disputed
         Date(s) debt was
                                                                   Basis for the claim: truck rental
         incurred 11/2023, 12/2023, 1/2024
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $100,000.00
         Eric Maki                                                  Contingent
         618 NW Sean Ct.                                            Unliquidated
         Bend, OR 97703                                             Disputed
         Date(s) debt was incurred 10/25/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $75,000.00
         Ernie Mills                                                Contingent
         4995 Pullman Ave. SE                                       Unliquidated
         Salem, OR 97302                                            Disputed
         Date(s) debt was incurred 12/9/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,293.67
         Fitzmark, LLC                                              Contingent
         PO Box 010825                                              Unliquidated
         Milwaukee, WI 53288                                        Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $75,000.00
         Forrest Smith                                              Contingent
         8380 Aumsville HWY SE                                      Unliquidated
         Spokane, WA 99208                                          Disputed
         Date(s) debt was incurred 12/10/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      Pretzel Perfection, LLC                                                         Case number (if known)
            Name

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $200,000.00
         Forward Financing, LLC                                     Contingent
         53 State St 20th Floor                                     Unliquidated
         Boston, MA 02109                                           Disputed
         Date(s) debt was incurred 7-21-21
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $57,861.35
         Fox Rothschild LLP                                         Contingent
         2000 Market St.                                            Unliquidated
         20th Floor                                                 Disputed
         Philadelphia, PA 19103
                                                                   Basis for the claim: legal services
         Date(s) debt was incurred 2018-2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,000.00
         Futures Technology Partners                                Contingent
         1085 Quentin Place                                         Unliquidated
         Woodmere, NY 11598                                         Disputed
         Date(s) debt was incurred 5/3/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $97,158.65
         Gluten Free Group                                          Contingent
         1605 46th St.                                              Unliquidated
         Brooklyn, NY 11204                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: manufacturing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $963.53
         Gluten Intolerance Group                                   Contingent
         31214 124th Ave. SE                                        Unliquidated
         Auburn, WA 98092                                           Disputed
         Date(s) debt was incurred 2/13/2024
                                                                   Basis for the claim: certification
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $37,347.23
         Hayden Drew Corp.
         dba Sircle Media                                           Contingent
         370 East 76th St.                                          Unliquidated
         Apt. B 1506                                                Disputed
         New York, NY 10021
                                                                   Basis for the claim: marketing/social media
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $240,979.85
         Hub Group                                                  Contingent
         PO Box 95045                                               Unliquidated
         Chicago, IL 60694                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $100,000.00
         James Goldman                                              Contingent
         108 W. 2nd Street                                          Unliquidated
         #1005                                                      Disputed
         Los Angeles, CA 90011
                                                                   Basis for the claim: personal note
         Date(s) debt was incurred 6/19/2019
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,488.70
         Jamestown Container                                        Contingent
         8146 Bavaria Dr. East                                      Unliquidated
         Macedonia, OH 44056                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: corrugated
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,000.00
         Jeanie Schneeman                                           Contingent
         189 McNary Ln.                                             Unliquidated
         Toledo, OR 97391                                           Disputed
         Date(s) debt was incurred 12/27/2019
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $150,000.00
         Jeff Chouinard
         1309 Adjala Tecumseth                                      Contingent
         Townline                                                   Unliquidated
         New Tecumseth, ON LOG1WO                                   Disputed
         Canada
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $105,000.00
         Jennifer Leonard                                           Contingent
         1125 SE 55th Ave.                                          Unliquidated
         Portland, OR 97215                                         Disputed
         Date(s) debt was incurred 3/9/2020
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Joey and Jayme Callon                                      Contingent
         120 W. 32nd St.                                            Unliquidated
         Vancouver, WA 98660                                        Disputed
         Date(s) debt was incurred 6/10/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         John Graves / Dennis Lonergan                              Contingent
         247 Municipal Rd.                                          Unliquidated
         Erwinna, PA 18920                                          Disputed
         Date(s) debt was incurred 10/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,819.58
         Josh Packaging Inc.                                        Contingent
         245 Marcus Blvd.                                           Unliquidated
         Hauppauge, NY 11788                                        Disputed
         Date(s) debt was incurred 6/22/2023
                                                                   Basis for the claim: packaging
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $850,000.00
         Juanita's Fine Foods                                       Contingent
         c/o Luis Dominguez                                         Unliquidated
         2885 Van Horn Dr.                                          Disputed
         Hood River, OR 97031
                                                                   Basis for the claim: personal note
         Date(s) debt was incurred 2016
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,106.76
         Keystone Food Products                                     Contingent
         PO Box 326                                                 Unliquidated
         Easton, PA 18044                                           Disputed
         Date(s) debt was incurred 4/2021
                                                                   Basis for the claim: manufacturing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,131,827.70
         Kirk Wilcox                                                Contingent
         253 Municipal Rd.                                          Unliquidated
         Erwinna, PA 18920                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,624.88
         Knightly Networks                                          Contingent
         333 Main Street                                            Unliquidated
         Spring Mount                                               Disputed
         Schwenksville, PA 19473
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $201,400.33
         Lally Pak                                                  Contingent
         1209 Central Ave.                                          Unliquidated
         Hillside, NJ 07205                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $150,000.00
         Lanny and Karen Mix                                        Contingent
         c/o Lawrence Finnerman, Esq.                               Unliquidated
         PO Box 359                                                 Disputed
         Coos Bay, OR 97420
                                                                   Basis for the claim: personal note
         Date(s) debt was incurred 10/28/2019
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,482.61
         Leviton Law Firm                                           Contingent
         One Pierce Place                                           Unliquidated
         Suite 725 W.                                               Disputed
         Itasca, IL 60143
                                                                   Basis for the claim: lab services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $85,000.00
         Margaret Telander                                          Contingent
         255 N. Sierra #2204                                        Unliquidated
         Reno, NV 89501                                             Disputed
         Date(s) debt was incurred 1/24/2020
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,000.00
         Matthew Insolia                                            Contingent
         1029 Ladera Dr.                                            Unliquidated
         Waxhaw, NC 28173                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $200,000.00
         Milagro and Franz Roesner                                  Contingent
         16900 SW 169 Ave.                                          Unliquidated
         Miami, FL 33187                                            Disputed
         Date(s) debt was incurred 12/31/2018
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,000.00
         Milliken and Michaels Inc.                                 Contingent
         1114 17th St.                                              Unliquidated
         Vero Beach, FL 32960                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: manufacturing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,940.37
         Moss Adams LLP                                             Contingent
         1301 A. Street #600                                        Unliquidated
         Tacoma, WA 98402                                           Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim: accounting services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $430,000.00
         Nicholson Trust                                            Contingent
         6865 NW Diamond Place                                      Unliquidated
         Corvallis, OR 97330                                        Disputed
         Date(s) debt was incurred 3/23/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,861.26
         Orthodox Union                                             Contingent
         40 Rector Street                                           Unliquidated
         4th Floor                                                  Disputed
         New York, NY 10006
                                                                   Basis for the claim:
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $48,712.54
         Parafin Inc                                                Contingent
         301 Howard Street                                          Unliquidated
         Suite 1500                                                 Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim: loan
         Date(s) debt was incurred 9-28-23
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,057.97
         PayDay Employer Solutions                                  Contingent
         655 Creek Rd.                                              Unliquidated
         Bellmawr, NJ 08031                                         Disputed
         Date(s) debt was incurred 9/2023
                                                                   Basis for the claim: payroll
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,665.00
         Pension Plan Specialists                                   Contingent
         805 Broadway St.                                           Unliquidated
         #600                                                       Disputed
         Vancouver, WA 98660
                                                                   Basis for the claim: 401(k) management
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $75,000.00
         Philip Telander                                            Contingent
         255 N. Sierra #2204                                        Unliquidated
         Reno, NV 89501                                             Disputed
         Date(s) debt was incurred 1/28/2020
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $100,000.00
         Premier Int'l Food Dist.                                   Contingent
         1029 Ladera Dr.                                            Unliquidated
         Waxhaw, NC 28173                                           Disputed
         Date(s) debt was incurred 12/21/2018
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,898.18
         Printpack Packaging                                        Contingent
         2800 Overlook Parkway                                      Unliquidated
         Atlanta, GA 30339                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: packaging
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Randy & Alicia Hernandez-Teicit                            Contingent
         911 NE Avery                                               Unliquidated
         Newport, OR 97365                                          Disputed
         Date(s) debt was incurred 11/17/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Rebecca Goldberg                                           Contingent
         5 Byram Rd.                                                Unliquidated
         Pipersville, PA 18947                                      Disputed
         Date(s) debt was incurred 2/17/2023
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Rob and Ivi Schroeder                                      Contingent
         1085 Quentin Place                                         Unliquidated
         Woodmere, NY 11598                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,000.00
         Robert Nicholson                                           Contingent
         255 N. Sierra St.                                          Unliquidated
         #2111                                                      Disputed
         Reno, NV 89501
                                                                   Basis for the claim: personal note
         Date(s) debt was incurred 10/19/2020
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $100,000.00
         Sean and April Brooks                                      Contingent
         9329 Creedmor Lane                                         Unliquidated
         New Port Richey, FL 34654                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,682.74
         SGS Vanguard Sciences                                      Contingent
         75 Passiac Ave.                                            Unliquidated
         Fairfield, NJ 07004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: lab tests
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $782,000.00
         Sophia Zellner                                             Contingent
         253 Municipal Rd.                                          Unliquidated
         Erwinna, PA 18920                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $45,000.00
         SPG Advance                                                Contingent
         1221 McDonald Ave                                          Unliquidated
         Brooklyn, NY 11230                                         Disputed
         Date(s) debt was incurred 9-9-21
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $58,946.21
         Stark & Stark                                              Contingent
         PO Box 7164                                                Unliquidated
         Lancaster, PA 17604                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: legal services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,406.25
         Systems Advisory Services                                  Contingent
         1224 Paloma Ave.                                           Unliquidated
         Burlingame, CA 94010                                       Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: software consulting
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,035.30
         Tabor Farms LLC                                            Contingent
         220 Farm Lane                                              Unliquidated
         Doylestown, PA 18901                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: office rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Tarpon Logistics Group LLC                                 Contingent
         dba Unishippers
         PO BOX 1560
                                                                    Unliquidated
         Melbourne, FL 32902                                        Disputed
         Date(s) debt was incurred                                 Basis for the claim: Civil-Contract
         Last 4 digits of account number 2275                      Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $80,000.00
         Teresa and Rod Proper                                      Contingent
         3425 N. Native Trl.                                        Unliquidated
         Rimrock, AZ 86335                                          Disputed
         Date(s) debt was incurred 10/8/2019
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,750.00
         Thompson and Skrabanek                                     Contingent
         42 W. 38th St.                                             Unliquidated
         #1002                                                      Disputed
         New York, NY 10018
                                                                   Basis for the claim: legal services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $100,000.00
         Tim Peda                                                   Contingent
         2104 East 3rd Ave.                                         Unliquidated
         Ellensburg, WA 98926                                       Disputed
         Date(s) debt was incurred 8/21/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,000.00
         Timothy Hickey                                             Contingent
         17064 Fairhaven Ave.                                       Unliquidated
         Farmington, MN 55024                                       Disputed
         Date(s) debt was incurred 4/24/2017
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,033.42
         Total Quality Logistics                                    Contingent
         4289 Ivy Pointe Blvd.                                      Unliquidated
         Cincinnati, OH 45245                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,438.00
         Traffix
         Attn: Nizam Bacchus                                        Contingent
         505-150 Ferrand Dr. 19                                     Unliquidated
         Toronto, ON, M3C 3ES                                       Disputed
         Canada
                                                                   Basis for the claim:
         Date(s) debt was incurred 2020
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,000.00
         Tricia and George Chandler                                 Contingent
         3484 Twenty Mile Way                                       Unliquidated
         Loveland, OH 45140                                         Disputed
         Date(s) debt was incurred 12/4/2019
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $120,000.00
         Tristan Chavez                                             Contingent
         1115 N Angeleno Ave                                        Unliquidated
         Azusa, CA 91802                                            Disputed
         Date(s) debt was incurred 12/22/2021
                                                                   Basis for the claim: personal note
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,947.18
         U.S. Bank                                                  Contingent
         P.O. Box 108                                               Unliquidated
         Saint Louis, MO 63166                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2960
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 13 of 15
           Case 24-10703-amc                      Doc 1        Filed 03/01/24 Entered 03/01/24 11:47:29                                          Desc Main
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Debtor       Pretzel Perfection, LLC                                                                Case number (if known)
             Name

3.85      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $504,690.53
          U.S. Small Business Administration                                Contingent
          Office of Disaster Assistance                                     Unliquidated
          14925 Kingsport Rd                                                Disputed
          Fort Worth, TX 76155
                                                                           Basis for the claim: EIDL Loan
          Date(s) debt was incurred 6/2020
          Last 4 digits of account number 7908                             Is the claim subject to offset?    No  Yes
3.86      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,405.60
          UPS                                                               Contingent
          55 Glenlake Parkway NE                                            Unliquidated
          Atlanta, GA 30328                                                 Disputed
          Date(s) debt was incurred 10/2023-12/2023
                                                                           Basis for the claim: shipping
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.87      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $982.58
          Verizon Business                                                  Contingent
          PO Box 16810                                                      Unliquidated
          Newark, NJ 07101                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: phone
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.88      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $35,000.00
          Vivian Johnson                                                    Contingent
          222 Nesting Glade                                                 Unliquidated
          Depoe Bay, OR 97341                                               Disputed
          Date(s) debt was incurred 11/1/2019
                                                                           Basis for the claim: personal note
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.89      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $173,158.53
          Wolfgang Operations LLC                                           Contingent
          50 East 4th Ave                                                   Unliquidated
          York, PA 17404                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Civil Judgment
          Last 4 digits of account number 5434
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Allison Barker, Esq.
          3331 Street Road                                                                          Line     3.58
          Two Greenwood Square
          Suite 2100                                                                                      Not listed. Explain

          Bensalem, PA 19020

4.2       Allison Barker, Esq.
          3331 Street Road                                                                          Line     3.39
          Two Greenwood Square
          Suite 2100                                                                                      Not listed. Explain

          Bensalem, PA 19020


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 15
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Debtor      Pretzel Perfection, LLC                                                     Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                       related creditor (if any) listed?               account number, if
                                                                                                                                       any
4.3       Daniel Wechsler, Esquire
          Amato Keating & Lessa PC                                                     Line      3.75                                  3375
          107 N Commerce Way
          Bethlehem, PA 18017                                                                Not listed. Explain


4.4       H Jeffrey Brahin, Esquire
          37 N Hamilton Street                                                         Line      3.15                                  5820
          107 N Commerce Way
          Doylestown, PA 18901                                                               Not listed. Explain


4.5       Justin Davis, Esq.
          107 N. Commerce Way                                                          Line      3.75
          Bethlehem, PA 18017
                                                                                             Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                            Total of claim amounts
5a. Total claims from Part 1                                                               5a.          $                    676,107.01
5b. Total claims from Part 2                                                               5b.    +     $                  9,614,224.04

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                    5c.          $                   10,290,331.05




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 15 of 15
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Fill in this information to identify the case:

Debtor name        Pretzel Perfection, LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Copier
             lease is for and the nature of
             the debtor's interest

                State the term remaining          Monthly
                                                                                    Pacific Automation
             List the contract number of any                                        1111 OLD EAGLE SCHOOL RD
                   government contract                                              Wayne, PA 19087-1453




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Pretzel Perfection, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:
   2.1                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.2                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.3                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.4                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Pretzel Perfection, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                          $0.00
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $2,078,507.51
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                              $3,201,592.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Debtor       Pretzel Perfection, LLC                                                             Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Amy Holyk                                                                               $55,384.56          Salary
              253 Municipal Rd
              Erwinna, PA 18920
              CEO

      4.2.    Amy Holyk                                                                               $36,450.00          Reimbursement
              253 Municipal Rd
              Erwinna, PA 18920
              CEO

      4.3.    Debora Odom                                                                              $8,120.00          Payroll
              253 Municipal Rd.
              Erwinna, PA 18920
              HR Management

      4.4.    Debora Odom                                                                            $110,686.86          Reimbursement
              253 Municipal Rd.
              Erwinna, PA 18920
              HR Management

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                         Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                        taken
      Velocity Ventures                                Filed confession of judgment                                     2/2/2024                $145,000.00
      1 Belmont Ae. Suite 520                          Last 4 digits of account number:       7535
      Bala Cynwyd, PA 19004


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case               Court or agency's name and                 Status of case
              Case number                                                           address




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Debtor       Pretzel Perfection, LLC                                                             Case number (if known)



              Case title                              Nature of case               Court or agency's name and             Status of case
              Case number                                                          address
      7.1.    Daniel Schnell v Pretzel                Civil-Contract               Bucks County Court of                   Pending
              Perfection, LLC                                                      Common Pleas                            On appeal
              2023-05820                                                           Bucks County Justice
                                                                                                                           Concluded
                                                                                   Center
                                                                                   100 North Main Street
                                                                                   Doylestown, PA 18901

      7.2.    Tarpon Logistics Group LLC              Civil-Contract               Bucks County Court of                   Pending
              dba Unishippers v Pretzel                                            Common Pleas                            On appeal
              Perfection, LLC                                                      Bucks County Justice
                                                                                                                           Concluded
              2022-03375                                                           Center
                                                                                   100 North Main Street
                                                                                   Doylestown, PA 18901

      7.3.    Randall Roday v. Pretzel                                             Bucks County Court of                   Pending
              Perfection LLC                                                       Common Pleas                            On appeal
              202291795                                                            Bucks County Justice
                                                                                                                           Concluded
                                                                                   Center
                                                                                   100 North Main Street
                                                                                   Doylestown, PA 18901

      7.4.    VV1513 LLC v. Pretzel                                                Bucks County Court of                   Pending
              Perfection LLC                                                       Common Pleas                            On appeal
              202400578                                                            Bucks County Justice
                                                                                                                           Concluded
                                                                                   Center
                                                                                   100 North Main Street
                                                                                   Doylestown, PA 18901


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
              Recipient's name and address            Description of the gifts or contributions                  Dates given                         Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Gellert Scali Busenkell &
                Brown, LLC
                1201 N. Orange Street
                Suite 300
                Wilmington, DE 19801                                                                                   2/20/2024                  $7,500.00

                Email or website address
                rgellert@gsbblaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     601 New Britain Road                                                                               10/20/19 - 12/31/23
                Suite 320
                Doylestown, PA 18901

      14.2.     1513 N Broad Street                                                                                6/01-11/23
                Lansdale, PA 19446

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

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Debtor      Pretzel Perfection, LLC                                                              Case number (if known)




          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or           Date account was                  Last balance
               Address                                  account number             instrument                   closed, sold,                 before closing or
                                                                                                                moved, or                              transfer
                                                                                                                transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

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Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Anne Scarazzo                                                                                                      11/2022-11/2023
                    21 Steeplechase Dr.
                    Doylestown, PA 18901
      26a.2.        Maria Salzone                                                                                                      8/2022-10/2023



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
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          within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                                 If any books of account and records are
                                                                                                       unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.        US Eagle
                    P.O. Box 130
                    Albuquerque, NM 87103
      26d.2.        Madison One
                    9375 East Shea Blvd.
                    Suite 100
                    Scottsdale, AZ 85260

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                     Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                     Address                                              Position and nature of any              % of interest, if
                                                                                                    interest                                any
      Amy Holyk                                253 Municipal Rd                                     CEO                                     81
                                               Erwinna, PA 18920



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

               Name and address of recipient            Amount of money or description and value of                Dates               Reason for
                                                        property                                                                       providing the value



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Debtor      Pretzel Perfection, LLC                                                         Case number (if known)



             Name and address of recipient        Amount of money or description and value of                Dates             Reason for
                                                  property                                                                     providing the value
      30.1 Amy Holyk
      .    253 Municipal Rd
             Erwinna, PA 18920                    55,384.56                                                                    Salary

             Relationship to debtor
             CEO


      30.2 Amy Holyk
      .    253 Municipal Rd
             Erwinna, PA 18920                    $36,450                                                                      Reimbursement

             Relationship to debtor
             CEO


      30.3 Debora Odom
      .    253 Municipal Rd.
             Erwinna, PA 18920                    $8,120.00                                                                    Wages

             Relationship to debtor
             HR Management


      30.4 Debora Odom
      .    253 Municipal Rd.
             Erwinna, PA 18920                    $110,686.86                                                                  Reimbursement

             Relationship to debtor
             HR Management


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




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                        56 Red
                        c/o Robert MacArthur
                        7425 SW Aloma Way
                        #3
                        Portland, OR 97223



                        Allison Barker, Esq.
                        3331 Street Road
                        Two Greenwood Square
                        Suite 2100
                        Bensalem, PA 19020



                        Amazon Capital Services Inc
                        410 Terry Ave North
                        Seattle, WA 98109-5210



                        American Express
                        P.O. Box 1270
                        Newark, NJ 07101



                        Amy Holyk
                        253 Municipal Rd
                        Erwinna, PA 18920



                        Anne and Bob Scarazzo
                        21 Steeplechase Dr.
                        Doylestown, PA 18901



                        Anne Marie Soloman
                        1012 Country Way
                        Chester Springs, PA 19425



                        Anne Scarazzo
                        21 Steeplechase Dr.
                        Doylestown, PA 18901



                        Bickel Snack Foods
                        1120 Zinn's Quarry Rd.
                        York, PA 17404
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                    Bob and Kathy Mandt
                    12423 NE 49th St.
                    Vancouver, WA 98682



                    Branden J. Stansberry
                    502 W. Wilson Ct.
                    Spokane, WA 99208



                    Bunzi
                    10814 Northeast Ave.
                    Philadelphia, PA 19116



                    Charles Grayson
                    175 Grandchester Way
                    Fayetteville, GA 30215



                    Chesapeake Spice Co.
                    PO Box 6129
                    Hermitage, PA 16148



                    Connor Holyk
                    253 Municpal Rd.
                    Erwinna, PA 18920



                    Daniel Schnell
                    15920 Pilot Drive
                    Sisters, OR 97759



                    Daniel Wechsler, Esquire
                    Amato Keating & Lessa PC
                    107 N Commerce Way
                    Bethlehem, PA 18017



                    Darren Smith
                    838 S. Gretha Greenway
                    Los Angeles, CA 90049
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                    David Uhle III
                    1452 Turkey Trot Rd.
                    Warminster, PA 18974



                    Davis Wright Tremaine LLP
                    1300 SW Fifth Ave.
                    Suite 2400
                    Portland, OR 97201



                    Deanna Farley
                    250 N. 175 E.
                    #333
                    New Harmony, UT 84757



                    Debora Odom
                    253 Municipal Rd.
                    Erwinna, PA 18920



                    Diane and Charles Wells
                    2215 Rip Curl Run
                    #261
                    Palmetto, FL 34221



                    Diane and Dean Logan
                    184 Hampshire Dr.
                    Sellersville, PA 18960



                    Doug and Kassi Clark
                    3304 217th Pl. NE
                    Sammamish, WA 98074



                    EAN Services LLC
                    PO Box 840173
                    Kansas City, MO 64184



                    Elizabeth Barca
                    181 E. Evans St.
                    Suite 313, BTC 119
                    Florence, SC 29506
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                    Eric Maki
                    618 NW Sean Ct.
                    Bend, OR 97703



                    Ernie Mills
                    4995 Pullman Ave. SE
                    Salem, OR 97302



                    Fitzmark, LLC
                    PO Box 010825
                    Milwaukee, WI 53288



                    Forrest Smith
                    8380 Aumsville HWY SE
                    Spokane, WA 99208



                    Forward Financing, LLC
                    53 State St 20th Floor
                    Boston, MA 02109



                    Fox Capital Group
                    65 Broadway
                    Suite 804
                    New York, NY 10006



                    Fox Rothschild LLP
                    2000 Market St.
                    20th Floor
                    Philadelphia, PA 19103



                    Futures Technology Partners
                    1085 Quentin Place
                    Woodmere, NY 11598



                    Gluten Free Group
                    1605 46th St.
                    Brooklyn, NY 11204
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                    Gluten Intolerance Group
                    31214 124th Ave. SE
                    Auburn, WA 98092



                    H Jeffrey Brahin, Esquire
                    37 N Hamilton Street
                    107 N Commerce Way
                    Doylestown, PA 18901



                    Hayden Drew Corp.
                    dba Sircle Media
                    370 East 76th St.
                    Apt. B 1506
                    New York, NY 10021



                    Hub Group
                    PO Box 95045
                    Chicago, IL 60694



                    Internal Revenue Service
                    Dept. of Treasury
                    Cincinnati, OH 45999-0030



                    Itria Ventures
                    1 Penn Plaza
                    Suite 4530
                    New York, NY 10019



                    James Goldman
                    108 W. 2nd Street
                    #1005
                    Los Angeles, CA 90011



                    Jamestown Container
                    8146 Bavaria Dr. East
                    Macedonia, OH 44056
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                    Jeanie Schneeman
                    189 McNary Ln.
                    Toledo, OR 97391



                    Jeff Chouinard
                    1309 Adjala Tecumseth
                    Townline
                    New Tecumseth, ON LOG1WO
                    Canada



                    Jellum Law
                    Attn: Garth Gavenda
                    7616 Currell Blvd.
                    Ste. 245
                    Saint Paul, MN 55125



                    Jennifer Leonard
                    1125 SE 55th Ave.
                    Portland, OR 97215



                    Joey and Jayme Callon
                    120 W. 32nd St.
                    Vancouver, WA 98660



                    John Graves / Dennis Lonergan
                    247 Municipal Rd.
                    Erwinna, PA 18920



                    Josh Packaging Inc.
                    245 Marcus Blvd.
                    Hauppauge, NY 11788



                    Juanita's Fine Foods
                    c/o Luis Dominguez
                    2885 Van Horn Dr.
                    Hood River, OR 97031
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                    Justin Davis, Esq.
                    107 N. Commerce Way
                    Bethlehem, PA 18017



                    Keystone Food Products
                    PO Box 326
                    Easton, PA 18044



                    Kirk Wilcox
                    253 Municipal Rd.
                    Erwinna, PA 18920



                    Knightly Networks
                    333 Main Street
                    Spring Mount
                    Schwenksville, PA 19473



                    Lally Pak
                    1209 Central Ave.
                    Hillside, NJ 07205



                    Lanny and Karen Mix
                    c/o Lawrence Finnerman, Esq.
                    PO Box 359
                    Coos Bay, OR 97420



                    Leviton Law Firm
                    One Pierce Place
                    Suite 725 W.
                    Itasca, IL 60143



                    Margaret Telander
                    255 N. Sierra #2204
                    Reno, NV 89501



                    Matthew Insolia
                    1029 Ladera Dr.
                    Waxhaw, NC 28173
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                    Merchant Captial
                    1274 49th St.
                    Suite 197
                    Brooklyn, NY 11219



                    Milagro and Franz Roesner
                    16900 SW 169 Ave.
                    Miami, FL 33187



                    Milliken and Michaels Inc.
                    1114 17th St.
                    Vero Beach, FL 32960



                    Moss Adams LLP
                    1301 A. Street #600
                    Tacoma, WA 98402



                    Nicholson Trust
                    6865 NW Diamond Place
                    Corvallis, OR 97330



                    Orthodox Union
                    40 Rector Street
                    4th Floor
                    New York, NY 10006



                    Pacific Automation
                    1111 OLD EAGLE SCHOOL RD
                    Wayne, PA 19087-1453



                    Parafin Inc
                    301 Howard Street
                    Suite 1500
                    San Francisco, CA 94105



                    PayDay Employer Solutions
                    655 Creek Rd.
                    Bellmawr, NJ 08031
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                    Pension Plan Specialists
                    805 Broadway St.
                    #600
                    Vancouver, WA 98660



                    Peter Lesser, Esq.
                    123 S. Broad Street
                    Suite 2100
                    Philadelphia, PA 19109



                    Philip Telander
                    255 N. Sierra #2204
                    Reno, NV 89501



                    Premier Int'l Food Dist.
                    1029 Ladera Dr.
                    Waxhaw, NC 28173



                    Printpack Packaging
                    2800 Overlook Parkway
                    Atlanta, GA 30339



                    Randy & Alicia Hernandez-Teicit
                    911 NE Avery
                    Newport, OR 97365



                    Rebecca Goldberg
                    5 Byram Rd.
                    Pipersville, PA 18947



                    Rob and Ivi Schroeder
                    1085 Quentin Place
                    Woodmere, NY 11598



                    Robert Nicholson
                    255 N. Sierra St.
                    #2111
                    Reno, NV 89501
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                    Robert Paglione Esq.
                    10,000 Lincoln Dr. East
                    Suite 201
                    Marlton, NJ 08053



                    SBA
                    6501 Sylan Rd
                    Suite 100
                    Citrus Heights, CA 95610-5017



                    Sean and April Brooks
                    9329 Creedmor Lane
                    New Port Richey, FL 34654



                    SGS Vanguard Sciences
                    75 Passiac Ave.
                    Fairfield, NJ 07004



                    Sophia Zellner
                    253 Municipal Rd.
                    Erwinna, PA 18920



                    SPG Advance
                    1221 McDonald Ave
                    Brooklyn, NY 11230



                    Stark & Stark
                    PO Box 7164
                    Lancaster, PA 17604



                    Swift Financial (PayPal)
                    Attn: Banktrupcty
                    3505 Silverside Rd.
                    Wilmington, DE 19810



                    Systems Advisory Services
                    1224 Paloma Ave.
                    Burlingame, CA 94010
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                    Tabor Farms LLC
                    220 Farm Lane
                    Doylestown, PA 18901



                    Tarpon Logistics Group LLC
                    dba Unishippers
                    PO BOX 1560
                    Melbourne, FL 32902



                    Teresa and Rod Proper
                    3425 N. Native Trl.
                    Rimrock, AZ 86335



                    Thompson and Skrabanek
                    42 W. 38th St.
                    #1002
                    New York, NY 10018



                    Tim Peda
                    2104 East 3rd Ave.
                    Ellensburg, WA 98926



                    Timothy Hickey
                    17064 Fairhaven Ave.
                    Farmington, MN 55024



                    Total Quality Logistics
                    4289 Ivy Pointe Blvd.
                    Cincinnati, OH 45245



                    Traffix
                    Attn: Nizam Bacchus
                    505-150 Ferrand Dr. 19
                    Toronto, ON, M3C 3ES
                    Canada



                    Tricia and George Chandler
                    3484 Twenty Mile Way
                    Loveland, OH 45140
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                    Tristan Chavez
                    1115 N Angeleno Ave
                    Azusa, CA 91802



                    U.S. Bank
                    P.O. Box 108
                    Saint Louis, MO 63166



                    U.S. Small Business Administration
                    Office of Disaster Assistance
                    14925 Kingsport Rd
                    Fort Worth, TX 76155



                    UPS
                    55 Glenlake Parkway NE
                    Atlanta, GA 30328



                    US Eagle Federal Credit Union
                    3939 Osuna NE
                    Albuquerque, NM 87109



                    Verizon Business
                    PO Box 16810
                    Newark, NJ 07101



                    Vivian Johnson
                    222 Nesting Glade
                    Depoe Bay, OR 97341



                    Wolfgang Operations LLC
                    50 East 4th Ave
                    York, PA 17404
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